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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

YUSEF LATEEF PHILLIPS,

                       Plaintiff,                     Case No. 1:19-cv-331
v.                                                    Honorable Janet T. Neff
KENT COUNTY et al.,

                       Defendants.
____________________________/

                                             OPINION

               This is a civil rights action brought by a federal prisoner under 42 U.S.C. § 1983

and state law. Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996)

(PLRA), the Court is required to dismiss any prisoner action brought under federal law if the

complaint is frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks

monetary relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A. The

Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520

(1972), and accept Plaintiff’s allegations as true, unless they are clearly irrational or wholly

incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these standards, the Court

will dismiss Plaintiff’s complaint against Defendants Kent County and Lawrence Stelma.

                                             Discussion

               I.      Factual Allegations

               Plaintiff Yusef Lateef Phillips is presently incarcerated with the Federal Bureau of

Prisons at the Otisville Federal Correctional Institution in Otisville, New York. Plaintiff sues Kent
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County and the following employees of Kent County: Sheriff Lawrence Stelma and Deputy

Sheriff Andrew Hinds.

                Plaintiff alleges that on the evening of September 3, 2017, he was walking to his

car from an apartment at Burton’s Landing Apartments in Grand Rapids, Michigan. He was not

aware that federal authorities were executing a search warrant at that location and were hidden in

the shadows nearby. Plaintiff was unarmed and his hands were in plain view. In one hand, he was

holding his car keys. Suddenly and without warning, Defendant Hinds, who was assisting the

federal officers, shot Plaintiff in the chest with a rifle. Plaintiff fell to the ground, in extreme pain

and bleeding “profusely” from a hole in his chest. (Compl., ECF No. 1, PageID.4.) Officers

handcuffed him and left him on the ground until an ambulance arrived and took him to the hospital.

                Apparently, a state prosecutor investigated the shooting, determined that Hinds’

belief that Plaintiff posed a threat was “clearly wrong,” but decided not to prosecute Hinds for a

crime. (Id.)

                Plaintiff survived the gunshot wound and is now serving a prison sentence for

possession of a firearm in furtherance of drug trafficking, and conspiracy to possess with intent to

distribute and to distribute heroin, cocaine, and marijuana. See United States v. Phillips, No. 1:17-

cr-193-02 (W.D. Mich.).

                Plaintiff claims that Defendants are liable under 42 U.S.C. § 1983 because they

used excessive force or were deliberately indifferent to his safety, in violation of his rights under

the Fourth, Eighth, and Fourteenth Amendments to the Constitution.                He also claims that

Defendants, particularly Defendants Kent County and Sheriff Stelma, are liable because they failed

to adequately train and supervise deputies working for Kent County. He asserts that Kent County

and Sheriff Stelma were aware of other incidents of excessive force by Kent County sheriff’s



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deputies during searches and arrests, yet they failed to adequately train and supervise their

employees. In addition, Defendants allegedly failed to enact policies and procedures that would

ensure adequate training in the use of firearms, and to investigate and discipline officers who do

not abide by county policies.

                Plaintiff further contends that Defendants are liable under state law because they

owed Plaintiff a duty of due care, but they were negligent, grossly negligent, and/or recklessly

indifferent to his safety.

                As relief, Plaintiff seeks $10 million in compensatory and punitive damages, as

well as interest, costs, and attorney fees, under 42 U.S.C. § 1988.

                II.     Failure to State a Claim

                A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include

more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

679. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the court



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to infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—that the pleader is entitled to relief.” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (holding that the

Twombly/Iqbal plausibility standard applies to dismissals of prisoner cases on initial review under

28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

                To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed

by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating

federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                        A. Kent County

                Plaintiff sues Kent County. A local government entity such as a municipality or

county “cannot be held liable [under § 1983] solely because it employs a tortfeasor—or, in other

words, a municipality cannot be held liable under § 1983 on a respondeat superior theory.” Monell

v. Dep't. of Soc. Servs., 436 U.S. 658, 691 (1978). Instead, an entity like Kent County may only

be liable under § 1983 when its policy or custom causes the injury. Los Angeles Cty. v. Humphries,

562 U.S. 29, 35-37 (2010) (citing Monell, 436 U.S. at 694 (1974)). In a municipal-liability claim,

the finding of a policy or custom is the initial determination to be made. Doe v. Claiborne Cty.,

103 F.3d 495, 509 (6th Cir. 1996). The policy or custom must be the moving force behind the

constitutional injury, and a plaintiff must identify the policy or custom, connect it to the

government entity and show that the particular injury was incurred because of the execution of

that policy or custom. Turner v. City of Taylor, 412 F.3d 629, 639 (6th Cir. 2005); Alkire v. Irving,
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330 F.3d 802, 815 (6th Cir. 2003); Doe, 103 F.3d at 508-09. This requirement is “intended to

distinguish acts of the municipality from acts of employees of the municipality, and thereby make

clear that municipal liability is limited to action for which the municipality is actually responsible.”

Pembaur v. City of Cincinnati, 475 U.S. 469, 479 (1986) (emphasis in original).

               Plaintiff’s claim fails at this first step because his allegations have not identified a

policy or custom of Kent County. A “policy” includes a “policy statement, ordinance, regulation,

or decision officially adopted and promulgated” by the county. Monell, 436 U.S. at 690. Plaintiff

does not allege that there is or was an official policy promoting the use of lethal force in the

circumstances alleged in the complaint, or that Defendant Hinds was acting according to such a

policy when he shot Plaintiff.

               Moreover, Plaintiff has not identified a custom as the source of his injuries. The

Sixth Circuit has explained that a “custom”

       . . . for the purposes of Monell liability must be so permanent and well settled as to
       constitute a custom or usage with the force of law. In turn, the notion of “law”
       includes deeply embedded traditional ways of carrying out state policy. It must
       reflect a course of action deliberately chosen from among various alternatives. In
       short, a “custom” is a “legal institution” not memorialized by written law.

Claiborne Cty., 103 F.3d at 507 (citations and quotations omitted).

               Plaintiff’s closest allegations pertaining to a custom are his assertions that

Defendants Kent County and Stelma were aware of “previous incidents where individuals who

were contacted by Kent County Sheriff Deputies were subjected to excessive force during search

and arrest,” and were aware of the “custom and practice of deputies that failed to ensure against

the use of excessive force during arrests, which were similar to the actions of Defendant [Hinds].”

(Compl., PageID.9.) These allegations are too vague and conclusory to state a claim. Plaintiff

does not describe the previous incidents or allege any connection between them and the incident

on September 3, 2017. Even if there were “previous incidents” of “excessive” force by county
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officers, such incidents would not necessarily mean that the Defendants had established a custom

of using lethal force in searches and arrests, or that Defendant Hinds was acting according to that

custom when he shot Plaintiff. Moreover, Plaintiff does not allege what it means to “fail to ensure

against the use of excessive force,” or how that failure applies to the facts of his case.

               Plaintiff also contends that Defendants Kent County and Stelma failed to train their

deputies. For instance, he alleges that they failed to “properly train deputies in the evaluation of

when deadly force is to be applied,” failed to “train [their] deputies in the proper use of force and

constitutional limits on the use of deadly force,” failed to maintain “proper policies and procedures

and training to deal with the inherently and unusually dangerous activity of executing nighttime

high-risk warrant service with federal agents,” and failed to “properly promulgate guidelines and

policies that comply with . . . the requirements of 42 U.S.C. § 1983 regarding the use of force

during arrests and searches[.]” (Compl., PageID.7-10.)

               In limited circumstances, a local government’s decision not to train certain

employees about their legal duty to avoid violating citizens’ rights may rise to the level of an

official government policy for purposes of § 1983. However, a municipality’s culpability for a

deprivation of rights is at its most tenuous where a claim turns on a failure to train. See Connick

v. Thompson, 563 U.S. 51, 60 (2011) (citing Oklahoma City v. Tuttle, 471 U.S. 808, 822-23

(1985)). A municipality’s failure to train its employees in a relevant respect must amount to

deliberate indifference to the rights of persons with whom the untrained employees come into

contact. Id. (citing City of Canton v. Harris, 489 U.S. 378, 388 (1989)). A pattern of similar

constitutional violations by untrained employees is ordinarily necessary to demonstrate deliberate

indifference for purposes of failure to train, unless the “consequences of failing to train could be

so patently obvious that a [government entity] could be liable under § 1983 without proof of a pre-



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existing pattern of violations.” Connick, 563 U.S. at 64 (discussing Bd. of Cty. Comm’rs of Bryan

Cty. v. Brown, 520 U.S. 397, 409 (1997)).

               Plaintiff has not identified a pattern of similar constitutional violations by deputies

working for Kent County. Nor has he identified a specific deficiency in the county’s training

program where the consequences of that deficiency would be patently obvious. His allegations

boil down to a nebulous assertion that the county’s training was not “proper.” This is not sufficient

to state a claim. Cf. Brown v. Cuyahoga Cty., 517 F. App’x 431, 436 (6th Cir. 2013) (affirming

dismissal of claim that county “fail[ed] to properly train its police officers in proper conduct toward

its citizens, [and] in permitting the excessive use of force” because these allegations were “nothing

more than a bare recitation of legal standards”).

               Moreover, Plaintiff does not connect any of the alleged deficiencies in training to

the incident at issue. In effect, Plaintiff infers that, because an officer used lethal force on him on

one particular occasion, the county’s training practices and procedures were inadequate. That is

not a plausible inference to make. See City of Canton, 489 U.S. at 391 (“[P]lainly, adequately

trained officers occasionally make mistakes; the fact that they do says little about the training

program or the legal basis for holding the [government entity] liable.”).

               Plaintiff alleges a number of other failures by the county that are not plausibly

related to his claim. For instance, he contends that the county failed to “staff the Sheriff’s

Department with competent law officers,” failed to “monitor [its] deputies to ensure that they are

competent for . . . high-risk activities,” failed to “require that deputies assigned to [high-risk]

activities and armed with high powered rifles meet significantly higher qualifications than deputies

assigned to more [menial] tasks,” and “failed to fully investigate and discipline its deputies who

do not abide by its policies and procedures relative to the improper use of force.” (Compl.,



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PageID.10.) To the extent any of these failures could be described as a “custom” of the county,

Plaintiff does not allege any facts indicating that they contributed to his injury.

               In short, Plaintiff’s vague and conclusory allegations about the county’s failures do

not contain enough factual matter to infer more than the “mere possibility of misconduct” by Kent

County. See Iqbal, 556 U.S. at 679. Thus, Plaintiff fails to state a claim under § 1983 against

Kent County.

                       B. Sheriff Stelma

               Plaintiff’s § 1983 claim against Defendant Stelma suffers from similar deficiencies.

Just as a municipal entity is not automatically liable for the conduct of its employees, individual

government officials may not be held liable for the unconstitutional conduct of their subordinates

under a theory of respondeat superior or vicarious liability. Iqbal, 556 U.S. at 676; Monell, 436

U.S. at 691; Everson v. Leis, 556 F.3d 484, 495 (6th Cir. 2009). A claimed constitutional violation

must be based upon active unconstitutional behavior by the defendant. Grinter v. Knight, 532 F.3d

567, 575-76 (6th Cir. 2008); Greene v. Barber, 310 F.3d 889, 899 (6th Cir. 2002). The acts of

one’s subordinates are not enough, nor can supervisory liability be based upon the mere failure to

act. Grinter, 532 F.3d at 576; Greene, 310 F.3d at 899; Summers v. Leis, 368 F.3d 881, 888 (6th

Cir. 2004). “[A] plaintiff must plead that each Government-official defendant, through the

official’s own individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676. Plaintiff

has failed to allege that Defendant Stelma engaged in any active unconstitutional behavior.

               Plaintiff does not allege that Stelma was involved in the shooting, was present at

the scene after Plaintiff was shot, or in any way ratified or approved the conduct of Hinds. Nor

does Plaintiff plausibly allege that Stelma is responsible for a particular policy or custom leading

to Plaintiff’s injuries. Thus, Plaintiff does not state a claim under § 1983 against Defendant Stelma.



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                           C. Defendant Hinds

                  Upon initial review, the Court concludes that Plaintiff states a claim under § 1983

against Defendant Hinds. At the very least, Plaintiff states a claim that Hinds used excessive force

in violation of Plaintiff’s rights under the Fourth Amendment. See Graham v. Connor, 490 U.S.

386, 394 (1989) (“Where, as here, the excessive force claim arises in the context of an arrest or

investigatory stop of a free citizen, it is most properly characterized as one invoking the protections

of the Fourth Amendment, which guarantees citizens the right ‘to be secure in their

persons . . . against unreasonable . . . seizures’ of the person.”).

                  III.     State Law Claims

                  As discussed above, Plaintiff does not state a claim under § 1983 against

Defendants Kent County and Stelma. This is his only federal claim against these defendants.1 His

remaining claims against them arise under state law. Plaintiff does not allege that his state

citizenship is different from Defendants for purposes of diversity jurisdiction. Thus, the Court has

jurisdiction over his state-law claims only by way of supplemental jurisdiction. See 28 U.S.C.

§ 1367(a).

                  Supplemental jurisdiction “is a doctrine of discretion, not of plaintiff’s right.”

United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966). When considering whether to

retain supplemental jurisdiction over state-law claims, the Court must consider factors such as

judicial economy, convenience, fairness, comity, and needlessly deciding state law issues. Gamel

v. City of Cincinnati, 625 F.3d 949, 951 (6th Cir. 2010). Considering the relevant factors and




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 Plaintiff also cites 42 U.S.C. § 1988, but that statute does not for provide an independent cause of action. See Moore
v. Alameda Cty., 411 U.S. 693, 705 (1973) (noting that § 1988 “was obviously intended to do nothing more than to
explain the source of law to be applied in actions brought to enforce the substantive provisions of the [Civil Rights
Act of 1866]”); Monell, 436 U.S. at 701 n.66 (“42 U.S.C. § 1988 cannot be used to create a federal cause of action
where § 1983 does not otherwise provide one[.]”).

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circumstances, the Court will decline to exercise supplemental jurisdiction over Plaintiff’s state-

law claims against Defendants Kent County and Stelma.

               Although Plaintiff’s claims against all Defendants all arise from the same incident,

his theory of liability against Kent County and Defendant Stelma is different from his theory of

liability against Defendant Hinds, and his claims against these respective parties will likely involve

different evidence and require a different showing of proof. A jury is less likely to be confused if

it is considering the alleged negligence of Sheriff Stelma and Kent County separate and apart from

the use of force by Defendant Hinds. Furthermore, the complaint has not been served on the

parties, so in terms of judicial economy and fairness to the parties, there is little chance of

duplicated effort if Plaintiff proceeds with a claim against Defendants Stelma and Kent County in

state court. Finally, as a matter of comity, the state court is in the best position to consider the

liability of Defendants Kent County and Stelma under state law. For all these reasons, Plaintiff’s

state-law claims against Kent County and Sheriff Stelma will be dismissed without prejudice.

                                            Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that Defendants Kent County and Lawrence Stelma will be dismissed. Plaintiff’s

federal claims against them under 42 U.S.C. § 1983 will be dismissed for failure to state a claim,

under 28 U.S.C. §§ 1915(e)(2) and 1915A(b). The Court will also dismiss Plaintiff’s state-law

claims against them, because the Court declines to exercise supplemental jurisdiction over such

claims. Plaintiff’s claims against Defendant Andrew Hinds remain in the case.

               An order consistent with this opinion will be entered.


Dated:    June 6, 2019                                /s/ Janet T. Neff
                                                      Janet T. Neff
                                                      United States District Judge

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